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AO 458 (Rev. 06/09) Appearance of Counsel

 

UNITED STATES DISTRICT COURT

June Van Scoyoc

 

Plaintiff
Vv.
City of Belleair Beach, et al.

 

Defendant

To: The clerk of court and all parties of record

for the
Middle District of Florida

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8:21-cv-1490

APPEARANCE OF COUNSEL

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

City of Belleair Beach, Glenn R. Gunn, Jody J. Shirley, Rita T. Swope, David Gattis and Wendy Gattis

 

Date: 07/21/2021

/s/ Randol D. Mora

 

Attorney’s signature

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